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                              UNITED STATES DISTRICT CO URT
                              SO UTHERN DISTRICT O F FLO RIDA

                              CASE NO .21-20218-CR-SINGHAL


     UNITED STATES OF AM ERICA ,
                 plàintiif,
     VS.
     PEDRO ARTURO CASAS ESPINOSA,
                 Defendant.
                                       /

      ORDER àETTING DATE.TIME.AND PROCEDURES FOR SENTENCING HEARING
           THIS CA USE came before the Courton the Defendant's Change ofPlea hearing

     heldW édnesday,March23,2022.Havingheardfrom theparties,itishereày
           ORDEREb AND ADJUDGED thata sentencing'hearing is setin this matter'for
     W ednesday,June 1,2022,at 11:00 A M ,in the FortLauderdale Division,C6udro6m
     11O,beforeJudg: iaagSinghal.

                              SENTENCING PRO CEDURES

         1. The Probation Olice shalldisclose the DraftPresentence Investigation Report

           (1lPSR'')no laterthan35 days priorto the sentencing hearing.
        2. Each pady shallfile i
                               ts objectiôns,ifany,to the DraftPSR and any motions for
           sentencing depadures orvariances no Iaterthan 14 days afterthe disclosure of

           the DraftPSR.The non-m oving party willthen have 7 days to respond.The non-

           moving padym ustrespondtoeachobjectiontothe PSR,aswellastoany motion
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              fora variance ordeparture,even ifthe non-m oving party plans to concèdq the

              objection,variance,ordepadure.
              The Probation Office shalldisclose the FinalPSR and Addendum no Iaterthan 7

              days before the sentencing hearing. Any party that has previously filed an

              objection to the PSR shall,no Iaterthan 3 days before the sentencing hearing,
              file a notice setting forth those previously filed objections,ifany,thathave been
              resolved and those thatrem ain outstanding.

         4. The Coud has setaside 30 m inutes forthis hearing. Ifany party requires more

              than 30 m inutes,counselforthatparty shallfile,no Iaterthan 14 dàys priorto the
              hearing,a motion form ore tim e in w hich the m oving pàrty shallIay out exactly
              how m uch tim e w illbe needed and why.

         5. Ifon Bond,the Defendantshould be prepared to jelf-surrenderatthe conclusion
              ofthe sentencing heiring.

      DONE AND ORDERED in chambers,FortLauderdale,Florida,this 23R/ day ofm arch

      2022.
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                                                            .   .   ''   .         ..




                                                        RM G :ING H
                                                        UNITED STATES DISTRICT JUDG E

     Copies furnished to counselvia CM/ECF
